Case 1:10-cr-00317-REB Document 735-17 Filed 01/17/14 USDC Colorado Page 1 of 8
NOTICE OF AND RESCISSION OF NOTICE TO THE UNITED STATES DISTRICT
COURT THAT ALL NAMED JUDGES, MAGISTRATES AND LISTED AGENTS AND

AGENCIES AS DEFENDANTS IN THE EXTRAORDINARY LAWSUIT
GB-110106-70091410000134484684ARE DEMANDED THEY BE RECUSED FOR
VIOLATION OF ARTICLE IV, SECTION 4 GUARANTEE OF A REPUBLIC FORM
OF GOVERNMENT AND THAT THESE CASES, 10-cr-00317-REB AND
10-cv-01073, BE DISMISSED WITH PREJUDICE FOR CAUSE
NOTICE DATE: Day Fourteen Month One Year 2014 C.E.

Clerk of the Court

United States District Court
901 19th Street, Room A-105

Denver, Colorado 80294-3589

In reply to: "Case 1:10-cr-00317-REB Document 154 Filed 02/28/11 USDC Colorado Page 1 of
7 February 24, 2011 Case No. 10-cr-00317-REB Case No. 10-cv-01073 NOTICE TO THE UNITED
STATES DISTRICT COURT THAT ALL NAMED JUDGES, MAGISTRATES AND LISTED AGENTS AND AGENCIES

AS DEFENDANTS IN THE EXTRAORDINARY LAWSUIT GB-110106~70091410000134484684ARE DEMANDED

THEY BE RECUSED FOR VIOLATION OF ARTICLE IV, SECTION 4 GUARANTEE OF A REPUBLIC FORM OF
GOVERNMENT AND THAT THESE CASES, 10-cr-00317-REB AND 10-cv-01073, BE DISMISSED WITH
PREJUDICE, Page 2 of 7, Page 3 of 7 February 24, 2011 Richard Kellogg Armstrong, Page 4 of
7 Richard Kellogg Armstrong, Page 5 of 7 Richard Kellogg Armstrong, Page 6 of 7 Richard
Kellogg Armstrong, Page 7 of 7 Richard Kellogg Armstrong"

PLEASE TAKE NOTICE that I, Richard Kellogg Armstrong, sentient moral being rescind my
signature Richard Kellogg Armstrong and the original "supra" including every copy bearing
my signature and date, for cause. I made a mistake creating, signing and presenting the
NOTICE TO THE UNITED STATES DISTRICT COURT THAT ALL NAMED JUDGES, MAGISTRATES AND LISTED
AGENTS AND AGENCIES AS DEFENDANTS IN THE EXTRAORDINARY LAWSUIT GB-110106-700914100003448
4684A4RE DEMANDED THEY BE RECUSED FOR VIOLATION OF ARTICLE IV, SECTION 4 GUARANTEE OF A
REPUBLIC FORM OF GOVERNMENT AND THAT THESE CASES, 10-cr-00317-REB AND 10-cv-01073, BE
DISMISSED WITH PREJUDICE. I repent of my sin.

I willingly, knowingly, voluntarily, intentionally and intelligently perform this act
and deed.

Lnyy son, if you become surety for your friend, if you have shaken hands in a pledge for a stranger", *"You
are snared by the words of your mouth; you are taken by the words of your mouth." 3"So do this, my son, and
geliver yourself; for you have come into the hand of your friend; go humble yourself; plead with your friend."
"Give no sleep to your eyes, nor slumber to your eyelids." ~"Deliver yourself like a gazelle from the hand of
the hunter, and like a bird from the hand of the fowler."

I RESERVE ALL OF MY RIGHTS WITH EXPLICIT RESERVATION AND WITHOUT PREJUDICE.

F I L E D Sincerely

UNITED STATES DISTRICT COURT j YY 4
DENVER, Car neano. pea b’ } loge G |
ee t
“Richard Kellogg Armstron

JAN 17 2014 c/o 20413~298
Federal Correctional
JEFFKey PF. COLWELL Institution - Lompoc
CLERK 3600 Guard Road
ee _. Lompoc, California

Page 1 of 2
Case 1:10-cr-00317-REB Document 735-17 Filed 01/17/14 USDC Colorado Page 2 of 8

Case 1:10-cr-00317-REB Document 154 Filed 02/28/11 USDC Colorado Page 1 of 7

February 24, 2011

we

Gregory Langham, Clerk ofghe Court
UNITED STATES DISTRIC T COLORADO SY
s
Richard Kellogg armstro Magic ‘Case 0.10-cr-00317— RE

Vv.
UNITED STATES OF AME

e No. 10-cv-01073
fendant

UY

Ys
Richard Kellogg me \
20413-298 \
Federal Detention Cef¥er EngleWood ‘
9595 Quincy Ave. “S key
Littleton, CO 80123

 

   
 
     
 
   
  
      
 

NOTICE TO THE UNITED SQATES DISTRICT COURT THAT ALL NAME DGES, MAGISTRATES AND LISTED AGENTS AND AGENCIES AS
DEFENDANTS IN THE EXT! INARY LAWSUIT GB-110106-700914 84684ARE DEMANDED THEY 8& RECUSED FOR VIOLATION

OF ARTICLE IV, SECTION 4 NTEE OF A REPUBLIC FORM OF GOWERNMENT AND THAT THESE CASES, @0-cr-00317-REB AND 10-cv-
01073, BE DISMISSED WI DICE. \

_ ‘op
REQUEST THAT THE COU GNIZE
Haines v. Kerner, 405 U 19, 20 Led 652, 92 S.Ct 594 Rel den 40 948, 30, Led 2d 819, 92 S.Ct 963

te

  

COMES NOW: Richard K strong, de jure, a native bo
legal documents that ha’ scinded any and all adhesion conkacts

violates these document@that are secured by the Constitution 1787.and the Bill of Rights 1791 have agre Caveat Miranda
Warning and the UCC-1 fil the Washington Secretary of State as well as numerous state, federal and internatinal
agencies(See: www.get info/rka.html as public notice) “\_"\

 

EXIGENT DEMAND TO TAKE SUDICIAL NOTICE OF ALL EXHIBITS AS VADENCE that Richard Kellogg Armstrong is On@Sf the People and
a declared sovereign of the Republic of Arizona whose name is contained in the attached list of People wh signed with
addresses and have inco ed herein as the Plaintiff in the Extrderdi ary Lawsuit, Case No. GB-1101 sean Npirsucin
Continuing as the People hereQafter as the "Plaintiff List " that wa: ed January 28, 2011, on the National Tribunal Court
established and located off alleged U.S. Property near Denver, Cotore

v \
The following lawsuit ERE Article IV, Section 4, Breach of Gi

   

By requisite submission u@d icle IV, Section 4, and under t

The Defendants (alleged) UNITED STATES DISTRICT COURTS and ail efendants listed in this lawsuit, including ju as
constituting an unlawful Collateral Court and all other defendants listed throughout this lawsuit including John and Jane Doe (See:
Exhibits B-1, B-2 and B-3).

NOTICE: This Guarantor’s Breach of Guarantee Lawsuit comes not under any form of Clause 14, Section 8, Article 1 “Rules made for
the Government".

The court is to protect against “any encroachment of Constitutionally secured liberties”. It is the duty of the Courts to be watchful
for the Constitutional Rights of the Citizens and against stealthy encroachments thereon. Their motto should be OBSTA PTINCIPII
(Boyd v. United 116 U.S. 616 at 635, 1885). The Tenth Amendment is clear: "The powers not delegated to the United States by the
Constitution, nor prohibited by it to the States, are reserved to the States respectively, or the People.
Case 1:10-cr-00317-REB Document 735-17 Filed 01/17/14 USDC Colorado Page 3 of 8

Case 1:10-cr-00317-REB Document 154 Filed 02/28/11 USDC Colorado Page 2 of 7

 
   
  
   
   
    
  
    
  
   
  

upon this Court than to exert its full authority to prevent all violations of the principles of the Constitution
182 U.S. 244, 1901).

tutory laws) MAY NOT violate the Constitution which prohibits any violations therein or AUTHORIZES
OTHERS TO DO SO. (Loc mes Angeles 33 Cal 2d 553: Cert den 337, U.S. 939)
Subsequently, t!
an oath to honor an
the Extraordinary
Fraud as acts, Po

legislators, Court officials and prosecutors have all participated in violating the Constitution they made
bide by. Instead, they proceeded to deny and treat with contempt to overthrdW@diaConstitution. Therefore,
Suit was served against the above said Guarantors for Fraud, Jurisdiction Fraud in tee and Jurisdiction
id in the factum, Power Fraud as acts, A

  
   
 

  
   

the Furthering of Treason, covered up or denied under Color Of Law, under Color of Authority and Power
resulting in heinoyg Acts of Theft by Deception, Acts committed or of Darkness, in gross violas Paintiff's
Constitutional Righ ut as abuse of Process, Misuse of Process, Abuse iscretion and malicious Coll NT

   
 
 
  

When the Defenda onstitutionally unlawful disregard of thei igation known as, or regarded by tife Gaurts to be, the
Doctrine of the Poisoness Tree, so must all of those vsho suffer and who have suffered from icle IV, Section 4
Guarantor, there being no immunity fromwhat has been done, because of the Breach that it has done, is

er of the Tree itself, to cure the Breach that it has been caused of to recognize al/@¥jts cases against all of
such cases Defendants @ being Poisoned Fruit Cases and to orderntheir immediate dismissal with prejudidp.

PERMITTED ens

As the judges an &.. have been notified "No person should be judge in his own case". This case ri ritg the Defendant
judges that are listéd in*the lawsuit as involuntarily disqualified fr case, or any directly associated,case, i® addition to the
requirement as a matter of like principal of laws at Title 28 U.S. Cede, ection 455(b)(5)(i) commencing & ( ereof which
states:
a. Any Justice, Ju Magistrate Judge of the United States;
b. Shalt disquati r herself in the following circumstanc
(5). Where he/she a party to the proceedings. ct

~ COLLATERAL COURTS NOT LEGAL AND
€

[SSI

YO.

    
 
   

Any use of the lodg: no matter the claim of level of lodg ed rule, that does not support the ikolu ary
disqualification requir: t existant as a matter of legislation coAstitutes immediately, an abuse of proMggs, and illegal
process, and goes to th@following like fundamental principle of law, to wit:

t
Rules made for the Government, not for the People, are meant ulate governmental proceedings, not gious justice.
When a rule is used in or for a purpose for which it was inte ;-6r when it otherwise brings about the ef that would be
required by statute or be the result of proceedings at the enttof trial or violates Constitutional rights of citizens, it ceases to
be a rule and becomes an abuse of Process and a Contempt of the Ghnstitution (406 4,5 5 stat.citc, USFCA, 1999). This court has

 
 
 
  
  

been in violation from fhe very beginning by trying a State Citizen
Administrative Article | rticte IV Court instead of an Article III
party, there is no caus ion (Rule 17(1)(a).

the Republic of Arizona in a court that operates as an
t addresses the Constitution. If there is no injured

eo
The UNITED STATES is a corporation (See: Title 28 USC 3002 (15)(A)%

cannot be in the common law because a crime in law

requires a corpus delecti, that is to say, the body of the crim njured party. A corporation cannot be the body of the crime

i, Richard Kellogg Armstrong, does understand that the cause of acti
of an injured party because it is artificial, a fiction. t
In the Judicial code, 28 U.S.C. 455(a) requires judge to recuse himself in any proceedings in which (t)he(i)r impartiality might
reasonably be questioned (See: Taylor v. O'Grady, 888 F. 2d 1189, 7th Cir., 1989, and in Pfizer, Inc. v. Lord 456F. 2d 532, 8th Cir.,
1972). The court stated that “It is important that the litigant not only actually receive justice, but he believes that he has received
justice’. As a State Citizen of the Republic of Arizona, | am not subject to statutes as the laws of Congress do not extend into the
limits of the States, but have force only in the District of Columbia and places that are within the exclusive jurisdiction of the
national government (See: Caha v. United States 152, U.S. 24, 215, 14 S.Ct 513, 1894). The accused is bound only to the
constraining certainty of the united States Constitution 1787 and the Bill of Rights 1791 and absolutely not under any other laws.
Case 1:10-cr-00317-REB Document 735-17 Filed 01/17/14 USDC Colorado Page 4 of 8

Case 1:10-cr-00317-REB Document 154 Filed 02/28/11 USDC Colorado Page 3 of 7

Any judge or attorney who does not report a judge for treason as required by law may themselves be guilty of misprison of treason.
See: 18 U.S.C., Section 2382 under federal law. These are the laws they must follow as federal employees where the State Citizen
of the Republic is boungpy the Highest Law of the Land "The Constitution 1787 and the Bill of Rights 1791".

   
  
   
      
    
   
  
    
  

Therefore, Richard Kel
notifies the UNITED ST.
Blackbur, listed in Ex!
Agent, due to direct c
cease and desist from an

g Armstrong, who is a plaintiff in this Extraordinary Lawsuit No. GB-110106-70091410000134484684 hereby
CT COURT COLORADO as well as their agents and officials, specifically Judge Robert E.

B-3 attached, Defendants, including Kenneth Harmon, A pend Greg Flynn, IRS/CID
interest to dismiss Case Nos. 10-cr-00317-REB and 10-cv-01073 immedia fh prejudice, to

er proceedings and release the accused from detention immediately.

     
   
   
 
 
 

 
 

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Therefore, Richard Kel
Extraordinary Lawsuit
2011, as one of the Pla

Ss served on the Tenth Tribunal Cou
hat is listed in this tawsuit against

As the occupant of the
cr-00317-REB and 10-cv.
Inmate Number 204

r Office of the RICHARD KELLOGG FRONG Estate, | am directing you t
with prejudice and order my immedigte

This document is not inte&ded to intimidate, threaten or harass b

eo Richard Kellogg Armstrorg
ONS Sgveretan
me (Neem of the Estate
cc: .

Supreme Court of the Un Stffes
Colorado Supreme Court,

Tenth Circuit Court of A

Republic of the united of America

international Trade Court
Administrative Office ott: Courts

Douglas Shulman, Commiss , IRS

Denver County Sheriff

*@ .

Mh

February 24, 2011

  
 

  

(YO S

 
Case 1:10-cr-00317-REB Document 735-17 Filed 01/17/14 USDC Colorado Page 5 of 8

Case 1:10-cr-00317-REB Document 154, Filed 02/28/11 USDC Colorado Page 4 of 7
Exar Be

NAMES OF THE PLAINTIFFS
FILING THIS CASE
INCLUDED AS STATED

IN “Plaintiffs, List” BELOW;

IN THE NATIONAL TENTH TRIBUNAL [CERGLEF] COURT
Established And Located On Alleged United States Property
Near Denver, Colorado

     
  

See Plaintiffs’ Futfhe
Filing, As Submitte?%

Plaintiffs / Inside: anteed Persons/ pais NSS,
N

  

Entered As: Guarmtee Breach (“GB”) Year # / Month # /
) State # / Federal Delivery # Guarantee Lawauit

 
  
  
   
  

Assignment Of Clause 9 - FivJustice Tribunal
[cen or “En Banc”) Called ;
~ As Being De facto; All 2 EXIGENT DEMAND ‘XO T. JUDICIAL
And All Judges Thereof CE OF ALL AS EVIDENCE.
Cus
Harley G. Lappin; Dou Shulman; Eric H. Holder, ARTICLE IV, SECTI ~ SUPERSEDING
Jr.; The U.S. Department of Justice And Such UPREME LAW — GUARANTEE
Department(s) Or Ageagies It May Represent; John & ° YY U.S. GOVERNMENT
Jane Doe Members of Congress; The \\\ EXTRAORDINARY LAWSUIT-
{alleged] President of ] United States; the FACT, - NOT UNDER LES

alleged United States As Commenced US. Lower Numbers:
UnLawfal Establiskyygst, September 17, 1787,-Second _) “senexalt ey
Session; - Under The Constitution For The
Proposed United States gtion (Any Other Form of

United States Denied Existence); the Hlegal
United States As Establishment 01/01/194
et al, AS:

Guarantor’s Defendyggs (Charged with Breach)

And those Acting Ig

  

 

NOTICE TO CLERK OF COURT

o SMUVE
EN RECEIVING THIS INITIAL APPEARANCE BY CERTIFIED MAIL
Ce TES AN ORIGINAL CASE APPEARANCE ONLY
IN

OF LAWSUIT PAGES TO COMMENCE ONGOING MANUAL FILING
WITHIN EXPECTED /2, HOURS FROM THE DATE THAT THIS SINGLE

APPEARANCE DE BENE ESSE DOCUMENT IS RECEIVED BY ABOVE NAMED COURT

RE
pp

 

1
Breach of Guarantee By Guarantor Lawsuit

Remainder of Lawsuit Pages Pending Manual Filing With Court

[Lahan 8 Libba gO) PIR
Case 1:10-cr-00317-REB Document 735-17 Filed 01/17/14 USDC Colorado Page 6 of 8

Case 1:10-cr-00317-REB DocumentdAfy Fijed 02/28/11 USDC Colorado Page 5 of 7

The Plaintiffs named below are extended to the Class Action Habeas Corpus as filed with this Breach of Guarantee by Guarantor lawsuit,
And may be extended further to the Courts and Other Authorities of England sad Wales for their Appropriate Injervention As Called For.

 

 

 

Address As Stated E
All Plaintiffs Shall

*Legal Address:
post Road; — No

 

“Plaintiffs, List”
The State of ___ Colorado People’s Tenth Tribunal Case # (If Any):

Case #: GB 110106-70091410000134484684

TH CONVE ae OF ALL POPULAR ADDRESSES ADDRESSES

 
  
    
     

Filed__/

 
  

a Here Ever After:

{Amnerica; ~ Not a
A MNS ddresses Below

   

 

Name of Plaintiff:
Liha KELL od,

 

¢ STLE ROCK, CO

Name of Plaintiff: \
VHLICHAEL

* Address (No Zip pe

E17 137 2 x7

 

 

 

      

 

 
 
 

AGEN At Breach

  

Sy Guarantor (Not Re

XGiheed ue :
Breach Of Guarante ge Case #” As Breach

By Guarantor (Net Required): OW -C/< — COO IBN
1G-2nF~> Oi G2KLM
_, 4.

 
 
  
   

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Name of Plaintiff:

 
 

 

 
   
     

 

 

 

 

 

 

 

 

    

 

 

 

O esti sash Breach Of Guarantee “F Case #” As Breach
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*Address (No Zip Code): | «(Not Required) ¢¥ | j VN
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Feeleral Hershts € Lawsuit Amount \[) , p77 m
Name of Plaintiff: f C) Exhibited Comat | Breach OfGuarantee “Fedgpal Case #” As Breach
# | By Guarantor (vet Require (OR CLOO
1 Address, “ He (Not Required)
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A \ Laweult Amount hbblh) Jb.) Yile/\p > .
Name of Plaintiff: O) Exhibited Complaint | Breach Of Guarantee “Federal Case #” As Breach
"©
| # By Guarantor (Not Required) OF -CR- 00056 - FAB
*Address (No Zip Code QNat Required) )
ISBY Samaren F lwen See Attachment for f
Coo Lawsult Amount S .
Cataloged Page #_ Time Submitted Unto National Tribunal CourtOn Above Date: __M

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Case 1:10-cr-00317-REB Document 735-17 Filed 01/17/14 USDC Colorado Page 7 of 8

Case 1:10-cr- -00317- REB Document 154 Filed 02/28/11 USDC Colorado Page 6 of 7
Ex ‘T &-2,

physical location (the courthouse names being irrelevant) as a legat entity - in its
entire “legal” existence as an Established Institution (compare to an incorporation) —
of the [alleged] District Court of the [alleged] District of Colorado, each and ever
Judicio Roe thereof, both as to judges and magistrate judges, therein, but not

crea ray judge not known at th it of this filing, if any, the same being:
¢ .

   
  
 

The DWe t [alleged district} Juggeresting up the primarjudikg
the [alleged] United S District Court Of The (pllede

Ofc o, are as follows:

  

 

The ant [alleged] Magistrate Jadiges, making up the secomaryr alleged
magis ces of the Defenda: ed] United States Districh Court Of The
(allbeed]

trict Of Colorado, a llows: NL

Mendant Michael J. Ws 3 Ht fends ant Boyd N, Bo anc,
4 LO f .
SB esmsiier, Detendan Michaehe party;

etaiiant Kathleen M., Tafo as Defer dant Gudrun J. Rice; Defe: sndant David

  

i re t ‘N \
The Defadant [alleged] Bankruptcy (i | Judges, making up the alleged part
of the De Sadant United States [sllegett/ U.S. Bankruptcy Court —

  

Mignon Clybum:; Defendant Meredith Attwell Baker;
Schapiro; Defendant Kathleen L. Casey; Defendant Elisse B. Walter;
Defendant Luis A. Aguilar; Defendant Troy A. Paredes; Defendant Jon

 

Breach of Guarantee By Guarantor Lawsuit
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Case 1:10-cr-00317-REB Document 735-17 Filed 01/17/14 USDC Colorado Page 8 of 8

Case 1:10-cr-00317-REB Documenti54 Filed 02/28/11 USDC Colorado Page 7 of 7
EXHIBIT G3

Leibowitz; Defendant Julie Brill; Defendant William E. Kovacic; Defendant
Edith Ramirez; Defendant J. Thomas Rosch; Defendant Margaret Hamburg,
M.D.; Defendant Kathleen Sebelius; Defendant Regina M. Benjamin, M.D.;
Defendant Michele Leonhart; Defendant Thomas M. Harrigan; Defendant
James M. Kasson; Defendant Preston L. Grubbs; Defendant Janet litano;
Defendant Robert S, Mueller, III; Defendant Kenneth E. Melson; Defendant

Rolstad; Defendant William Snelson; Defendant Candra Symonds; Defendant
; Defendant Leon E. Panetta; Et Al;

{3]. f the abd¥e whom are mnie Swom to Oath or A on to
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Support, gd thereby to Obey, the propos stitution for the p:

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ourt, established fundamentalty at Clause 9, of Section hdc I, of
tioned Constitution itself, of Sanded by the same “wo

upon the same thereby, eveltaguch some may not have\done so;
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[4.1]. A Main Purpose of a Republican Fon of Gov t is that i and be,

     
 
  

  
   
   
    
 

in everyNAM, a Local G \Wpbblic, going to th fth
In every’ {, a Local Government (rex ic, going to the empowefment of the
“real pulgiic”) swith the certain ability of Lgte
Governi order that such government Hl ¢ or misuse the very 8 that it
was estabiished to serve and protect from he outset of its very existenc

[4.2]. In short, a Re ent is a people ordained@overnment

establish Protect the people a
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those TT to secure their own pre iops rights against tyranny and abuse, and

mat | gcal level, in a manner that allows

 

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Breach of Guarantee By Guarantor Lawsuit

Page 34 of © Lh2 Lege) __
